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7                                UNITED STATES DISTRICT COURT
8                                       DISTRICT OF ARIZONA
9    Mi Familia Vota, et al.,                          No. CV-22-00509-PHX-SRB (Lead)
10                     Plaintiffs,                     ORDER GRANTING JOINT
                                                       MOTION FOR REVISED SUMMARY
11          v.                                         JUDGMENT BRIEFING SCHEDULE
                                                       AND PAGE LIMIT EXTENSION
12   Adrian Fontes, et al.,
                                                       (Before the Hon. Susan R. Bolton)
13                     Defendants.
14
     AND CONSOLIDATED CASES.                           No. CV-22-00519-PHX-SRB
15                                                     No. CV-22-01003-PHX-SRB
                                                       No. CV-22-01124-PHX-SRB
16                                                     No. CV-22-01369-PHX-SRB
                                                       No. CV-22-01381-PHX-SRB
17                                                     No. CV-22-01602-PHX-SRB
                                                       No. CV-22-01901-PHX-SRB
18
19          Having considered the parties’ Joint Motion for Revised Summary Judgment
20   Briefing Schedule and Page Limit Extension (Doc. 358), and good cause appearing,
21          IT IS HEREBY ORDERED that the motion is granted in part and denied in part.
22      May 8, 2023:          Deadline for the State and Attorney General to file a dispositive
23                            motion.
24      May 15, 2023: Deadline for any other defendant, including Intervenor Defendant
25                            Republican National Committee (the “RNC”), to file dispositive
26                            motions addressing only legal issues not addressed in the State and
27                            Attorney General’s dispositive motion.
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1       June 5, 2023:      Deadline for any plaintiff to file a dispositive motion and to respond

2                          to defendants’ dispositive motions. Any plaintiff that seeks to both

3                          move and respond must do so in one combined brief, not two.

4       July 5, 2023:      Deadline for any defendant to file replies in support of their

5                          dispositive motions and to respond to plaintiffs’ dispositive motions.

6                          Any defendant that seeks to both reply and respond must do so in one

7                          combined brief, not two.

8       July 19, 2023:     Deadline for any plaintiff to file replies in support of their dispositive

9                          motions.

10          IT IS FURTHER ORDERED that the Court’s Case Management Order (Doc. 338)

11   remains the same in all other respects.

12          IT IS FURTHER ORDERED that all memoranda shall be in compliance with the

13   page limitations set out in this Court’s Local Rule 7.2(e).

14          Dated this 25th day of April, 2023.

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